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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF KENTUCKY
                                     COVINGTON DIVISION


   STATE OF TENNESSEE, et al.,

                  Plaintiffs,

          v.                                           Case No. 2:24-cv-00072-DCR-CJS
                                                       Chief District Judge Danny C. Reeves
   MIGUEL CARDONA, in his official capacity            Magistrate Judge Candace J. Smith
   as Secretary of Education, and UNITED
   STATES DEPARTMENT OF EDUCATION,

                  Defendants.


                      DEFENDANTS’ REPLY IN SUPPORT OF MOTION
                        FOR A PARTIAL STAY PENDING APPEAL

         Defendants’ motion for a partial stay pending appeal, see ECF No. 104 (“Mot.”), explained

  that this Court’s preliminary injunction was impermissibly overbroad in two respects. First, it

  enjoined numerous provisions of the Final Rule that the State Plaintiffs and Intervenor-Plaintiffs

  (together, “Plaintiffs”) did not challenge and as to which the Court made no finding that Plaintiffs

  satisfied the preliminary injunction factors. See generally Defs.’ Mot. for Partial Stay, ECF No.

  104 (“Mot.”) 3–4. Second, as to the provisions that Plaintiffs did challenge, the injunction

  wrongfully enjoins (1) 34 C.F.R. § 106.10, which does not cause Plaintiffs any injury, and (2) the

  hostile environment harassment definition in 34 C.F.R § 106.2, as applied to complaints other than

  gender identity discrimination. See generally Mot. 5–6. Nothing in Plaintiffs’ oppositions, see

  generally Pls.’ Opp. to Defs.’ Mot. for Partial Stay, ECF No. 110 (“Opp.”); Intervenor-Pls.’ Resp.

  in Opp. to Defs.’ Mot for Partial Stay, ECF No. 111 (“Int. Opp.”), undermines that analysis.




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                                              ARGUMENT

  I.     Defendants Are Likely To Succeed On Their Claim That The Injunction Is
         Unlawfully Overbroad.

         A.      The Court Erroneously Enjoined Severable Provisions That Plaintiffs Do Not
                 Challenge.

         The Rule effects many changes to Title IX’s regulations beyond those challenged by

  Plaintiffs, Mot. 3–4, and Plaintiffs have not identified any cognizable harm that they are

  purportedly suffering due to these unchallenged portions of the Rule. As the Court acknowledged,

  “[e]ach subsection in which [the challenged] provisions appear contains a severability clause.”

  ECF No. 100 at 90. It is both common ground and black-letter law that where one provision of an

  agency rule is held invalid, the remainder of the rule may go into effect “unless there is ‘substantial

  doubt’ that the agency would have left the balance of the rule intact.” Finnbin, LLC v. Consumer

  Product Safety Commission, 45 F.4th 127, 136 (D.C. Cir. 2022); see also, e.g., Averett v. U.S.

  Dep’t of Health & Human Servs., 306 F. Supp. 3d 1005, 1021 (M.D. Tenn. 2018) (similar); Opp.

  5 (same standard). Applying this well-established rule is not judicial rulemaking, cf. Int. Opp. 2,

  4, but instead the long-established and uncontroversial way that courts give effect to the clearly

  expressed intentions of federal agencies.

         Plaintiffs argue that the challenged provisions are not severable because the Rule’s

  description of the scope of prohibited sex discrimination in § 106.10 is somehow embedded in any

  provision of the Rule that mentions “sex discrimination,” Opp. 4, or otherwise “‘permeates’ the

  entire Rule,” Int. Opp. 3 (quoting ECF No. 100 at 90); see also id. 5. That is not so, as the

  Department clearly explained that different aspects of its Rule could operate independently. See

  33 Fed. Reg. at 33,848. And more fundamentally, it ignores that Plaintiffs’ asserted harms stem

  from the operation of discrete provisions within the Rule governing the ways in which funding

  recipients may permissibly differentiate among students by sex. See Part I.B infra.
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            Plaintiffs suggest that a court need not “perform a severability analysis … at the

  preliminary injunction stage.” Opp. 3 (quoting Doster v. Kendall, 54 F.4th 398, 442 (6th Cir.

  2022), vacated as moot, 114 S. Ct. 482 (2023) (Mem.)); see also Int. Opp. 2–3. But while a court

  has discretion in crafting preliminary relief, it abuses that discretion when it enters an injunction

  so “broad [that] there is a risk that it restrains legal conduct.” Union Home Mortgage Corp. v.

  Cromer, 31 F.4th 356, 364 (6th Cir. 2022). While there are circumstances in which “status-quo

  relief might look broader than the ultimate relief,” that principle exists to “stop[] a defendant’s

  threatened conduct from causing (irreparable) harm until the court has a meaningful chance to

  resolve the case on the merits.” Doster, 54 F.4th at 441. And no evidence or authority supports

  Intervenor-Plaintiffs’ suggestion that the Court should decline to undertake the required

  severability analysis at the preliminary injunction stage because it might cause “confusion.” Int.

  Opp. 2.

            Here, Plaintiffs would suffer no cognizable harm, nor would the Court be deprived of the

  ability to meaningfully review the aspects of the Rule that Plaintiffs challenge, if the unchallenged

  provisions of the Rule took effect. Defendants are thus not asking the Court to “perform a roving

  severability analysis,” Opp. 3; the entire point of including express severability provisions is to

  ensure that a court need not guess as to the agency’s intent. Those severability provisions here

  flatly refute Plaintiffs’ unsupported speculation that the Department might not have issued the Rule

  if all of its provisions could not take effect, id. 4-5; Int. Opp. 3–4. See generally Mot. 4.

            Finally, Intervenor-Plaintiffs’ argument that this Court need not engage in a severability

  analysis because they sought relief pursuant to 5 U.S.C § 705, Int. Opp. 3, is wrong for at least two

  reasons. First, the Court did not enter relief under § 705; its order is simply styled as an

  “injunction.” ECF 100 at 93. Second, 5 U.S.C. § 705 contemplates preliminary injunctions subject



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  to traditional equitable principles; it expressly provides that courts may only delay the effective

  date of an agency action “to the extent necessary to prevent irreparable injury.” For the reasons

  discussed throughout, wholesale postponement of the entire Rule’s effective date is not necessary

  to avoid irreparable injury when Plaintiffs challenge only a handful of the Rule’s provisions.

         B.      This Court Erred in Enjoining Provisions and Applications That Cause
                 Plaintiffs No Harm.

         Even as to the challenged provisions, the injunction is overbroad insofar as it enjoins

  provisions of the Rule—and potential applications thereof—that cause Plaintiffs no harm.

         34 C.F.R. § 106.10. On appeal, Defendants will demonstrate that § 106.10

  straightforwardly applies the reasoning of Bostock v. Clayton County, 590 U.S. 644 (2020). But

  even apart from Defendants’ likelihood of success on that issue, the Court should grant this motion

  because Plaintiffs have not established that they will suffer irreparable harm if they are prohibited

  from engaging in conduct that all parties agree would be “discrimination” against students simply

  because they are gay, transgender, or pregnant. Indeed, State Plaintiffs disclaim any desire to

  discriminate against gay and transgender students for being gay or transgender, see Opp. 5

  (Defendants are “right” on this point), and Intervenor-Plaintiffs do not argue they wish to engage

  in such discrimination. Plaintiffs certainly have never asserted any harm from being barred from,

  e.g., excluding students from band practice or requiring them to sit in the back of a school bus on

  the basis of the students’ gender identity, sexual orientation, or pregnancy. Imminent irreparable

  harm is “indispensable” to a preliminary injunction, D.T. v. Sumner County Schools, 942 F.3d 324,

  327 (6th Cir. 2019), and absent a showing of it, this Court cannot properly afford Plaintiffs

  preliminary injunctive relief as to § 106.10, even if it agrees with them on the merits of their

  argument regarding Bostock.




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          It is no response that Defendants have taken the position, prior to the Rule, that Title IX

  may require transgender individuals to be permitted to use restrooms and locker rooms consistent

  with their gender identity—an issue not addressed in § 106.10. See generally Opp. 6. This case is

  a challenge to the Rule, and as Plaintiffs acknowledge, § 106.31(a)(2)—not § 106.10—is the

  provision of the Rule governing how Title IX’s prohibition on sex discrimination applies in the

  specific context of the division of “intimate spaces by sex.” Opp. 2. Because only § 106.31(a)(2)

  addresses this issue, any relief with respect to Plaintiffs’ concerns regarding sex-separate “intimate

  spaces” would run at most against § 106.31(a)(2). There is no justification for enjoining a provision

  that Plaintiffs concede they do not wish to violate. See Opp. 5. Defendants are thus likely to

  succeed on their claim that this Court erroneously enjoined § 106.10, a provision that causes

  Plaintiffs no harm.

          34 C.F.R. § 106.2. The injunction is also overbroad with respect to 34 C.F.R. § 106.2. That

  provision defines many terms, but Plaintiffs challenge only its definition of hostile environment

  harassment. While State Plaintiffs suggest that the Court found this provision vague as a general

  matter, see Opp. 3, the Court’s analysis focused on the potential application of § 106.2’s definition

  of hostile environment harassment to speech regarding gender identity. See ECF No. 100 at 49,

  51, 52, 53, 55. It was error for this Court to enjoin § 106.2 as to all of its definitions and all of its

  applications.

                  C.      Defendants’ Severability Argument Was Not “Forfeited.”

          Intervenor-Plaintiffs’ argument that Defendants waived their severability arguments, Int.

  Opp. 6, is unquestionably wrong, which is presumably why the State Plaintiffs make no such claim.

  Defendants’ oppositions to Plaintiffs’ motions for preliminary relief specifically addressed

  severability, see ECF No. 73 at 25; ECF No. 91 at 22-23, and both the State Plaintiffs and



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  Intervenor-Plaintiffs responded to this argument in their reply briefs. See ECF No. 92 at 15; ECF

  No. 99 at 15. The Court likewise expressly addressed Defendants’ severability arguments. See

  ECF No. 100 at 90. An argument advanced by one party, rebutted by another, and ruled upon by

  a court has not been waived.

  II.    The Balance of Harms and the Public Interest Favor a Partial Stay.

         Finally, the balance of harms and the public interest tilt decisively in favor of the limited

  stay requested here, for “the eradication of discrimination by race and sex promotes public

  interests.” EEOC v. Kimberly-Clark Corp., 511 F.2d 1352, 1359 (6th Cir. 1975). That stay would

  restore provisions that Plaintiffs have not challenged or that prohibit conduct in which Plaintiffs

  do not intend to engage—including prohibitions on things like forcing a student to sit in the back

  of a classroom because he is gay, excluding a student from the lunchroom because he is

  transgender, sexually harassing a cisgender woman in a manner that meets the regulatory definition

  of hostile environment harassment, or requiring a breastfeeding student to express breastmilk in a

  bathroom stall.

         While Plaintiffs allege they will incur costs to come into compliance with the Rule, those

  alleged costs flow from provisions and applications of the Rule that either have not been

  challenged or that would remain enjoined under the requested stay. See, e.g., Haaland v. Brackeen,

  599 U.S 255, 296 (2023) (Texas could not claim standing to challenge child-custody placement

  preferences based on costs of record keeping and notice requirements; “Texas would continue to

  incur the complained-of costs even if it were relieved of the duty to apply the placement

  preferences”). And even if those costs were legally relevant, they would pale in comparison to the

  federal government’s interest in stamping out sex discrimination. Cf. Winter v. Natural Res. Def.

  Council, Inc., 555 U.S. 7, 23 (2008) (explaining that “even if plaintiffs have shown irreparable



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  injury” to marine wildlife, it would be “outweighed by the public interest and the Navy’s interest

  in effective, realistic training of its sailors”).

                                               CONCLUSION

          For the foregoing reasons, and the reasons set forth in Defendants’ motion, the Court

  should stay the preliminary injunction to the extent it extends beyond the following provisions of

  the 2024 Rule: 34 C.F.R. § 106.31(a)(2), and the “hostile environment harassment” definition in

  34 C.F.R. § 106.2 as applied to gender identity discrimination.

  Dated: June 29, 2024                                     Respectfully submitted,

                                                           BRIAN M. BOYNTON
                                                           Principal Deputy Assistant Attorney General

                                                           EMILY B. NESTLER
                                                           Assistant Branch Director

                                                           /s/ Pardis Gheibi
                                                           ELIZABETH TULIS
                                                           REBECCA KOPPLIN
                                                           BENJAMIN TAKEMOTO
                                                           HANNAH SOLOMON-STRAUSS
                                                           PARDIS GHEIBI
                                                           Trial Attorneys
                                                           United States Department of Justice
                                                           Civil Division, Federal Programs Branch
                                                           P.O. Box No. 883, Ben Franklin Station
                                                           Washington, DC 20044
                                                           Phone: (202) 305-3246
                                                           Fax: (202) 616-8470
                                                           E-mail: Pardis.Gheibi@usdoj.gov

                                                           Attorneys for Defendants




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                                CERTIFICATE OF SERVICE

        I certify that on June 29, 2024, the above document was filed with the CM/ECF filing

  system.

                                                     /s/ Pardis Gheibi




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